Case 2:03-cV-02561-.]DB-STA Document 108 Filed 05/09/05 Page 1 of 12 Page|D 111

.F"_ED E‘§, _H go D(\

IN THE UNITED sTATEs DIsTRICT COURT wm '“'

FOR THE WESTERN DIsTRICT 0F TENNESSEE 135 H;EY -9 PH !: g l
WESTERN DIVISION

firearm ' c
.. /...v Fl. ‘. ,"1' '!
-::t_\s,f':l<. m 5 i' `J“'C

NACCO MATERIALS HANDLING am (~.,.__ z ~ _- ,-

GROUP, INC. dfb/a YALE
MATERIALS HANDLING CORP.,

 

Plaintil`f,
V. NO. 03-2561 B/An

TOYOTA MATERIAL HANDLING
USA, INC., and THE LILLY CO.,

Defendants.

 

ORDER GRANTING IN PART AND DENYING IN PART
PLAINTIFF’S MOTION TO COMPEL

 

Before the Court is Plaintiff’s Motion to Compel Defendant Toyota Material Handling
USA, lnc. to Respond to Interrogatories and Requests for Production of Documents filed on
February 22, 2005. For the reasons set forth below, the Motion is GRANTED in part and
DENIED in part.

BACKGROUND

Plaintiff Nacco Materials Handling Group, lnc. (“Plaintiff” or “Yale”) manufactures and
supplies fork lift trucks to retailers for resale. Plaintiff has sued Defendant The Lilly Co.
(“Lilly”) for breaching an Agreement between Plaintiff and Lilly and has sued Defendant Toyota
Materia] Handling USA, lnc. (“Toyota”) for inducing the breach of the Agreement. Both Toyota

and Lilly have filed counterclaims against Plaintiff.

Th$s document entered on the docket sheet in compliance

WJth'Ru!eSBand/`or?Q(s)FHCP gm 5 ., H-QS /O %

Case 2:03-cV-O2561-.]DB-STA Document 108 Filed 05/09/05 Page 2 of 12 Page|D 112

Lilly is a retailer which resel]s fork lift trucks in parts of Tennessee, Mississippi and
Arkansas (“the region”), and for over fifty years, Lilly has served as an exclusive dealer for
Plaintiff’ s products in the region. Plaintiff and Lilly’s relationship is governed by the Yale
Dealer Agreement (“Agreement”), which was renewed in July 2002 and includes a provision that
prohibits Li]ly from selling new fork lift equipment from any company that competes directly
With Plaintiff It is undisputed that Plaintiff and Toyota are competitors in the manufacture and
sale of fork lift trucks. ln 2003 Toyota was in the process of terminating its dealer relationship
with another fork lift retailer in the region. At the same time, Toyota and Lilly discussed Lilly
becoming a Toyota fork lift retailer in the region. During the summer of 2003, Lil]y actually
Signed a dealer agreement with Toyota, where Lilly agreed to sell Toyota fork lift trucks, and
when Plaintiff learned of Lilly’s intentions, Plaintiff filed the instant action.

Plaintiff served lnterrogatories and Requests for Production of Documents on Toyota on
December 8, 2004. Toyota requested an extension of time to respond to the discovery requests,
and Toyota submitted its responses to the discovery requests on February 15, 2005. Plaintiff
argues Toyota’s responses were “nothing but blanket, boiler plate objections containing no
substantive response to any of the lnterrogatories or Requests for Production.” (Mot. to Cornpel,
at 2). Specifically, Plaintiff argues that Toyota improperly raised relevance, over breadth and
undue burden objections to the requests Plaintiff argues that Toyota has refused to provide
meaningful responses to the discovery requests in an attempt to delay these proceedings and
prevent Plaintiff from obtaining relevant evidence

ln its Response to the Motion, Toyota argues that it provided discovery to Plaintiff in the

weeks prior to a Preliminary Injunction hearing held before United States District Judge J. Daniel

2

Case 2:03-cV-02561-.]DB-STA Document 108 Filed 05/09/05 Page 3 of 12 Page|D 113

Breen. Toyota also argues that Plaintiff is attempting to obtain discovery regarding Toyota’s
customers, prospective customers, sales, business plans, and its relationships with other fork lift
dealers. Toyota argues that this information is confidential and not relevant to these proceedings
As such, Toyota claims it should not be required to respond to certain requests.

Toyota also disputes that Lilly is a Toyota dealer. While it is undisputed that Lilly does
not sell Toyota products, the parties dispute that Lilly is nevertheless a Toyota dealer because of
Lilly’s relationship to another company. Thomas Clark III, president of Lilly, formed another
corporation, Mid-South Lift Truck, lnc. (“Mid-South”). Toyota appointed Mid-South Lift Truck,
Inc. as the Toyota dealer in the region; however, Toyota argues that Mid-South’s appointment as
the dealer is entirely unrelated to Lilly. Plaintiff, on the other hand, has attempted to define Li]ly
to include both Lilly and Mid-South because of Mr. Clark’s relationship With both companies

Plaintiff received permission to file a Reply Memorandum with the Court, and
subsequently, the Couit granted Toyota permission to file a Response to Plaintiff’s Reply
Meinorandum.

ANALYSIS

“Parties may obtain discovery regarding any matter, not privileged, that is relevant to the
claim or defense of any party . . . Fed. R. Civ. P. 26(b)(l). Relevancy means that the evidence
“appears reasonably calculated to lead to the discovery of admissible evidence.” Fed. R. Civ. P.
26(b)(l); see also Coleman v. Am. Red Cross, 23 F.3d 1091, 1097 (6th Cir. 1994). The Court
should broadly interpret whether evidence is relevant. See Oppenhei`mer Fund, fnc. v. Sana'ers,
437 U.S. 340, 351 n.12 (1978) (quoting 4 J. Moore, Federal Practz`ce § 26.96[1], at 26-131 n.34

(2d ed. 1976)). ln this Circuit, the scope of discovery is extremely broad under the Federal Rules

3

Case 2:03-cV-02561-.]DB-STA Document 108 Filed 05/09/05 Page 4 of 12 Page|D 114

of Civil Procedure and “is . . . within the broad discretion of the trial court.” Lewi‘s v. ACB
Busi'ness Servs. ]nc., 135 F.3d 389, 402 (6th Cir. 1998). The United States Supreme Court has
also noted that discovery should be both broad and liberal. See Schlagenhaufv. Hot'a’er, 379 U.S.
104. ll4-l5 (1964) (citing Hr'ckman v. Taylor, 329 U.S. 495, 507 (1947)).

In this matter Toyota has objected to numerous discovery requests, and Plaintiff has
requested that the Court compel Toyota to provide complete responses to the discovery requests
After review, the Court concludes that the Motion to Compel should be granted in part and
denied in part.I

A. Interrogatories
l. Interrogatorv Nos. l_ 2, 4. and 6

Interrogatory Nos. l, 2, 4, and 6 request information from Toyota concerning Lilly, which
Plaintiff has defined to include both Lilly and Mid-South. The Court concludes that Lilly and
Mid»South are two separate entities, and that Lilly should not be required to reveal information
or communications concerning Mid-South, which is a non-party to this lawsuit. Mr. Clark, as the
founder of Mid-South, should not be penalized for the formation of a new company and should
not be required to divulge information from his new company. Therefore, with respect to
lnterrogatory Nos. l, 2, 4, and 6, the Motion to Compel is GRANTED in part and DENIED in

part. Toyota shall be required to respond to the requests, as each request relates to Lilly within

 

lToyota argues that certain documents should not be produced because the documents are confidential and
privileged Therefore, for each document request that the Court has ordered Toyota to provide a complete response,
Toyota shall not be required to produce an allegedly privileged document; however, Toyota shall produce a Privilege
Log listing the allegedly privileged documents to Plaintiff

4

Case 2'03-cV-02561-.]DB-STA Document 108 Filed 05/09/05 Page 5 of 12 Page|D 115

l l days of entry of this Order; however, Toyota shall not be required to respond to each request,
as it relates to Mid-South.
2. lnterrogatory Nos. 8 and 9

lnterrogatory No. 8 requests that Toyota “state the name and address of any individual or
entity that markets a competitive product with which Toyota has had any discussion about that
individual or entity becoming a Toyota dealer or having any business relationship with Toyota in
the last three years.” After review the Court concludes that lnterrogatory No. 8 is overly broad
and not relevant to these proceedings Other than its discussions with Lilly, Toyota should not be
required to disclose any communications it had with any entity concerning that entity becoming a
Toyota dealer. This information is irrelevant to the proceedings and Toyota would be required
to spend a significant amount of time to provide the information requested. Therefore, with
respect to lnterrogatory No. 8, the Motion to Compel is DENIED,

lnterrogatory No. 9 requests that Toyota “state the name and address of any individual or
entity that represented a competitive product that has become a Toyota dealer in the last three
years.” Similar to lnterrogatory No. 8, the Court concludes that lnterrogatory No. 9 is overly
broad in scope because Toyota would be required to spend a significant amount of time locating
and listing the name of all individuals Furtherinore, except as it relates to Lilly, the information
requested is not relevant to these proceedings, as Plaintiff did not include either potential dealers
in this lawsuit. Therefore, with respect to Number 9, the Motion to Compel is DENIED.

3. Interrogato;g No. 3
lnterrogatory No. 3 requests that Toyota “provide a detailed explanation of the methods

and procedures” used to locate and produce documents in Plaintift’s discovery requests After

5

Case 2'03-cV-02561-.]DB-STA Document 108 Filed 05/09/05 Page 6 of 12 Page|D 116

review, the Court concludes there is no reason to believe that Toyota does not understand its
obligations under the F ederal Rules of Civil Procedure. There is also no reason to believe that
Toyota has failed to make a reasonable effort to locate and produce all relevant documents in
response to the discovery requests Therefore, with respect to interrogatory No. 3, the l\/[otion to
Compel is DENIED.
4. lnterrogatory No. 5

lnterrogatory No. 5 requests that Toyota “state the factual basis and dollar amount of any
damage Toyota contends has been sustained by Toyota as a result of any alleged act or omission
of Plaintiff.” Toyota claims that it is currently unable to answer as to the dollar amount of this
claim because the amount of damages is ongoing, but because the response to this interrogatory
is relevant and could lead to the discovery of admissible evidence, Toyota should be required to
fully respond to this interrogatory As such, with respect to interrogatory No. 5, the Motion to
Compel is GRANTED. Within ll days of entry of this Order, Toyota should be required to list
the amount of damages incurred to the present, and Toyota shall supplement their answer to
lnterrogatory No. 5 as it incurs additional damages

B. Requests for Production of Documents
l. Re_quest Nos. l and 5

Request No. l asks Toyota to “produce all documents that relate to any financial
projections sales projections or revenue projections concerning the sale, lease or rental by Lill y
of Toyota products or the sale of any parts or service by Lilly related to Toyota products.” After
review, the Court is unable to conclude how these projections or sales figures are relevant to

Plaintiff’s claim for damages against Toyota. As such, because a response to this interrogatory is

6

Case 2:03-cV-02561-.]DB-STA Document 108 Filed 05/09/05 Page 7 of 12 Page|D 117

unlikely to lead to the discovery of admissible evidence, the Motion to Compel, with respect to
Request No. l, is DENIED.

Request No. 5 asks Toyota to “produce any marketing plan prepared, modified or
commented upon by Toyota relating to the sale by Lilly of Toyota products or the sale by Lilly of
parts for Toyota products on the service of Toyota products.” Similar to Request No. l, the
information requested is unrelated to Plaintiff s claim of damages and the Court concludes that
Toyota should not be required to produce marking plans to Plaintiff. With respect to Request
No. 5, the Motion to Compel is DENIED.

2. RequestNos. 2, 9.10.1]` 13, 14.15.16_17

Similar to lnterrogatory Nos. l, 2, 4, and 6, Requests Nos. 2, 9, 10, ll, 13, 14, 15, and 16
concern whether Toyota should be required to produce information and documents for both Lilly
and Mid-South. As mentioned above, Toyota should not be required to produce documents
regarding Mid-South because Lilly and Mid~South are two distinct entities However, the Court
concludes that Toyota should respond to the document requests regarding to Lilly only.
Therefore, with respect to Requests Nos. 2, 9, 10, ll, 13, 14, 15, and 16, the Motion to Compel is
GRANTED in part and DENIED in part. Within ll days of entry of this Order, Toyota shall be
required to respond to the requests as each request relates to Lilly; however, Toyota shall not be
required to respond to each request, as it relates to Mid'South.

3. Request Nos. 31 6. 7` 8. and 12

Request No. 3 asks Toyota to “produce all documents including any electronic e-mails or

documents received from Lilly.” After review, the Court concludes that Request No. 3 is overly

broad. Plaintiff has listed no time limit for Request No. 3 and has not limited the requests to

7

Case 2:03-cV-02561-.]DB-STA Document 108 Filed 05/09/05 Page 8 of 12 Page|D 118

persons within the company or even to persons with knowledge of the claims of this lawsuit.
Therefore, because the request is overly broad and would impose an undue burden on Toyota to
respond to the discovery request, the Motion to Compel, with respect to Request No. 3, is
DENIED.

Request No. 6 asks Toyota to “produce all internal memoranda, emails notes or other
documents arising out of, referring to, or related in any way to Plaintiff from January l, 2004 to
the present.” The Court concludes that Toyota may be required to produce some internal
memoranda, notes or other documents relating to Plainti_ff; however, not all documents
involving Plainti ff may be relevant to this lawsuit. Therefore, because the scope of this
interrogatory is overly broad, the Motion to Compel, with respect to lnterrogatory No. 6, is
DENIED.

Request No. 7 also asks Toyota to produce all internal memoranda, emails or notes
relating to any communication with any dealer or representative of Plaintiff from January l, 2003
to the present. Similar to Request No. 6, the scope of this interrogatory is also overly broad
because not all documents involving a representative or dealer of Plaintiff may be related to this
lawsuit. Therefore, With respect to Request No. 7, the Motion to Compel is DENIED.

Request No. 8 asks Toyota to produce all documents referring to or related in any way to
any communication with any customer or potential customer of Lilly from March l, 2003 to the
present. The Court concludes that this interrogatory is overly broad, as responding to this
discovery request would require Toyota to produce documents that are not relevant to this

lawsuit. Therefore, with respect to Request No. 8, the Motion to Compel is DENIED.

Case 2'03-cV-02561-.]DB-STA Document 108 Filed 05/09/05 Page 9 of 12 Page|D 119

Request No. 12 asks Toyota to “produce all internal memoranda, emails notes or other
documenting arising out of or referring to or related to the sale or parts or service to any Lilly
customer relating to any Toyota product.” Because Plaintiff has not limited this request to a
specific time period and because Plaintiff has not limited this request to documents relating to
Plaintiff’ s claims against Toyota, the Court concludes that Request No. 12 is overly broad.
Therefore, with respect to Request No. 12, the Motion to Compel is DENIED.

4. Request No. 4

Request No. 4 asks Toyota to “produce any marketing plan prepared by Lilly relating to
Toyota products parts or the service of Toyota products.” While the Court concludes that
Plaintiff may be entitled to these marketing plans Plaintiff should request these marketing plans
from Lilly, not from Toyota. Therefore, with respect to Request No. 4, the Motion to Compel is
DENIED.

5. Request No. 18

Request No. 18 asks Toyota to “produce all internal memoranda, emails, notes or other
documents arising out of, referring to, or related in any way to any claim of damage, injury or
loss allegedly sustained by Toyota as a result of any alleged act or omission of Plaintiff.” Similar
to lnterrogatory No. 5 , Plaintiff is entitled to a complete response to Request No. 18 because the
response could certainly lead to the discovery of admissible evidence With respect to Request
No. 18, the Motion to Compel is GRANTED. Toyota should submit a complete response to

Request No. 18 within 11 days of entry of this Order for damages incurred to the present

` 20
Case 2'03-cV-02561-.]DB-STA Document 108 Fl|ed 05/09/05 Page 10 of 12 Page|D 1

As Toyota incurs future damages Toyota should supplement their response to Request No. 18.

grew did

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

Date: M/%? Oé/ 2095/

10

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 108 in
case 2:03-CV-02561 was distributed by faX, mail, or direct printing on
May 11, 2005 to the parties listed.

 

 

.l. S. Wilson

WYATT TARRANT & COl\/[BS
P.O. Box 775000

l\/lemphis7 TN 38177--500

.l eff Smith

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

l\/lemphis7 TN 38103

.l on D. Ross

NEAL & HARWELL, PLC
150 Fourth Ave.7 N.

Ste. 2000

Nashville, TN 37219

Glen G. Reid

WYATT TARRANT & COl\/[BS
P.O. Box 775000

l\/lemphis7 TN 38177--500

Mark S. Norris

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

l\/lemphis7 TN 38103--246

Aubrey B. Harwell

LAW OFFICE OF AUBREY B. HARWELL, JR.
150 Fourth Ave. North

Nashville, TN 37219

Ronald G. Harris

NEAL & HARWELL, PLC
150 Fourth Ave.7 N.

Ste. 2000

Nashville, TN 37219

Case 2:03-cV-02561-.]DB-STA Document 108 Filed 05/09/05 Page 12 of 12 Page|D 122

Amy Holliman Brown

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

l\/lemphis7 TN 38103--246

Honorable .l. Breen
US DISTRICT COURT

